         Case: 1:19-cv-00398-MWM-SKB Doc #: 37 Filed: 02/12/20 Page: 1 of 1 PAGEID #: 439
2 AO 456 (Rev. 5/85) Notice


                                     UNITED STATES DISTRICT COURT
                       SOUTHERN                         DISTRICT OF                        OHIO


                ANDREA GOLDBLUM
                                                                  NOTICE
                               V.
            UNIVERSITY OF CINCINNATI
                                                                  CASE NUMBER: 1:19-cv-00398


TYPE OF CASE:
                                    ✔ CIVIL
                                    G                   G CRIMINAL

✔ TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:
G
PLACE                                                          ROOM NO.
                                                                Chambers, Room 706
POTTER STEWART UNITED STATES COURTHOUSE
100 EAST FIFTH STREET                                          DATE AND TIME
CINCINNATI, OHIO 45202                                                           2/20/2020 11:00 am
TYPE OF PROCEEDING

IN CHAMBERS DISCOVERY CONFERENCE BEFORE MAGISTRATE JUDGE STEPHANIE K. BOWMAN




G TAKE NOTICE that a proceeding in this case has been continued as indicated below:
PLACE                               DATE AND TIME PREVIOUSLY   CONTINUED TO DATE
                                    SCHEDULED                  AND TIME




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TO:
 COUNSEL
